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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KALVIN DRUMMOND, MOHAMMED
BAH, CHRISTOPHER GRANDISON, and
SHANE BENT, on behalf of themselves and   No. 2:13-05991-BMS
those similarly situated,

             Plaintiff,

      v.

HERR FOODS INC. and
JOHN DOES 1-10

             Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT AND CERTIFICATION
                     OF SETTLEMENT CLASS
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                                        INTRODUCTION

        Subject to this Court’s approval, the Parties have reached a preliminary settlement in this

hybrid putative class/collective action.1 With the assistance of the Honorable Diane M. Welsh

(Ret.) at mediation on November 30, 2015, the Parties reached a preliminary settlement wherein

Herrs Food, Inc. (hereinafter “Herr’s”), while denying any and all liability and disputing the

amount of alleged damages, will pay $2,000,000 to settle all claims in this action. The settlement

resolves all claims brought in this action, including allegations that Herr’s failed to pay overtime

wages in violation of the Fair Labor Standards Act (“FLSA”) and state laws.


        Named Plaintiff Kalvin Drummond originally filed this action on October 14, 2013. The

lawsuit asserts that: (1) Herr’s misclassified its Route Salespersons (hereinafter “RSPs”) as exempt

from overtime pay under the FLSA and state laws and failed to pay them overtime wages for hours

worked over 40 hours in a workweek, and (2) Herr’s unlawfully deducted from RSPs’ wages for

lost inventory. Herr’s denies all allegations set forth in the Fourth Amended Complaint and

contends that its RSPs were exempt from overtime under the FLSA and state wage and hour laws

and that the deductions made from RSPs’ wages were lawful. Following this Court’s conditional

certification of the collective action, over 300 individuals filed Consent Forms to become opt-in

plaintiffs.


        Prior to settlement, the Parties engaged in significant litigation efforts. Written discovery

has been extensive as Defendant has produced over 7,000 pages of documents including but not


1
  For purposes of this Memorandum of Law, Plaintiffs incorporate by reference the Definitions
contained in the Joint Stipulation and Settlement Agreement (“Settlement Agreement”), a copy of
which is attached hereto as Exhibit A. Defined terms not otherwise defined herein are defined in
the Settlement Agreement.
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limited to: 1) the pay records for all six named Plaintiffs and all of the opt-in Plaintiffs, 2) the

personnel files, time data, and sales data for four named Plaintiffs and ten opt-in Plaintiffs, 3) pay

and work policies, and 4) orientation and training materials. In addition, Herr’s deposed one

named Plaintiff and two opt-in Plaintiffs while Plaintiffs deposed five corporate witnesses,

including Herr’s corporate representative, and a third party witness. The Parties also engaged in

extensive motion practice, exchanged position statements regarding the exemption and deduction

issues, and attended mediation with an experienced mediator, the Honorable Diane M. Welsh

(Ret.).


          Accordingly, the pending settlement proposal was the result of substantial discovery and

motion practice and was the product of adversarial negotiations, which culminated after two years

of litigation. Counsel for the Parties and the Parties themselves have carefully evaluated the risks,

time, and costs associated with continuing this litigation. The settlement proposal ultimately

reached does not provide Plaintiffs the equivalent of their best day in court; it clearly, however,

provides them substantially more than they would do on their worst day. It represents a fair

compromise to what will otherwise be a long and uncertain path of litigation for both Parties.


          While this Court has already conditionally certified a FLSA collective action opt-in class,

a Rule 23 class has not been certified to date. Therefore, Plaintiffs make this unopposed motion:

(1) to certify a settlement class under Federal Rule of Civil Procedure 23(b)(3); (2) for preliminary

approval of the settlement with respect to the Rule 23 class claims; and (3) for preliminary approval

of the settlement under the FLSA.




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       In the interest of judicial economy, and because the proposed settlement is fair, reasonable

and adequate, Plaintiffs respectfully request that the Court order certification of the settlement

class under Rule 23(b)(3) for settlement purposes, appoint undersigned counsel as Class Counsel,

and grant preliminary approval of the collective and class settlement, notices, settlement procedure

and the parties’ Settlement Agreement.2



                                  PROCEDURAL HISTORY

       Named Plaintiff Kalvin Drummond originally filed this action on October 14, 2013. (DE

1). The Complaint originally included only FLSA and Pennsylvania state law claims. (Id.)

Thereafter, on November 6, 2013, Named Plaintiffs filed an Amended Complaint adding Named

Plaintiffs Mohammed Bah, Christopher Grandison, and Shane Bent. (DE 4). On November 25,

2013, Herr’s filed a Partial Motion to Dismiss Plaintiffs’ claim under the Pennsylvania Wage

Payment and Collection Law (“PWPCL”), which this Court granted. (DE 9, 23). On January 31,

2014, Plaintiffs filed the Second Amended Complaint adding facts to support reinstatement of their

claim under the PWPCL. (DE 25). On February, 18, 2014, Herr’s filed another Motion to Dismiss

Plaintiffs’ PWPCL claim, which this Court denied. (DE 29, 33). On May 30, 2014, Plaintiffs filed

the Third Amended Complaint adding unlawful deduction claims under the PWPCL. (DE 41).


       After the first phase of discovery concluded, on June 5, 2014, Herr’s filed a Motion for

Partial Summary Judgment on the FLSA claims of opt-in Plaintiff Jaqueline Jones, and, on June



2
  Although Herr’s does not oppose this motion for certification of a settlement class, it expressly
reserves the right to defend against any and all of the claims asserted by Plaintiffs including, but
not limited to, Rule 23 certification of the state law claims, final certification of the FLSA
collective action, liability, and damages, in the event the Court denies the motion to approve the
settlement.
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16, 2014, Plaintiffs filed a Motion for Conditional Certification. (DE 42, 47). Plaintiffs then filed

a Motion to Defer Defendant’s Motion for Summary Judgment and Permit Discovery pursuant to

Rule 56(D), which this Court partially granted.      (DE 51, 60). After Plaintiffs took additional

discovery, Herr’s filed its renewed Partial Motion for Summary Judgment, which this Court

denied. (DE 61, 75). On November 10, 2014, Plaintiffs filed their renewed Motion for Conditional

Certification, which this Court granted on March 2, 2015. (DE 77, 95). During the subsequent

notice and opt-in period, over 300 individuals filed consent forms to join this case.


       After the opt-in period closed on September 14, 2015, Plaintiffs filed the Fourth Amended

Complaint, adding named Plaintiffs Robert Ciampaglia and Stefan Godley and overtime and

unlawful deduction claims under New Jersey and Maryland wage and hour laws. (DE 141).

During this time period, the Parties agreed to defer the second phase of opt-in and Rule 23 class

discovery until after attending mediation. In September 2015, the Parties agreed to attend

mediation, which was scheduled for November 30, 2015 before Judge Welsh. During the full-day

mediation, the Parties agreed to a settlement. Plaintiffs now seek preliminary approval of that

settlement.



                             PROPOSED SETTLEMENT TERMS

       In the context of mediation before Judge Welsh, former Magistrate Judge for the United

States District Court for the Eastern District of Pennsylvania, the parties agreed to the following

settlement terms, which have been embodied in the Settlement Agreement:


       1.      Herr’s will pay $2,000,000 into a settlement fund to be distributed to individuals

(who do not opt out) who have previously filed a consent form to join the case or who complete a


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Claim Form during the settlement notice period. The entire $2,000,000 settlement fund will be

paid to these individuals on a pro rata share based upon the number of workweeks each Claimant

worked during the relevant time period; Herr’s will not receive any reversion of the settlement

fund based on the number of individuals who submit Claim Forms. The Parties have agreed to a

longer than average 90-day notice period in order to promote Class Member participation.

       2.      The settlement provides for a full and final release and waiver on a class-wide basis

(including individuals who neither submit a Claim Form nor request exclusion) of all state and

local wage and hour laws and any other law under which claims based upon the factual allegations

in this case could be brought.3 The settlement provides for a further full and final release and

waiver by every Claimant of all claims under the FLSA that could have been brought based on the

factual allegations in the Action. (Settlement Agreement, § XVII).

       3.      Each Class Member will receive a notice informing them of their rights and options

as they pertain to the settlement. Those Class Members who previously filed a consent form to

join the case (over 300 individuals or approximately 30% of the Class) will receive a notice

informing them that, inter allia: (1) if they wish to receive money they do not have to take any

action; (2) if they do nothing and remain eligible to receive payment, they will waive their claims

under federal, state, and local wage and hour laws; (3) if they wish not to participate in the

settlement and retain their rights under state and local wage and hour laws, they can opt-out of the

settlement; and (4) they may object to the settlement. All other Class Members (those who did not

previously file a consent form) will receive a notice informing them that, inter allia: (1) if they


3
  The release does not release any claim(s) for wrongful discharge under any statute or common
law, including but not limited to the FLSA and other federal and state wage and hour laws nor
does it waive claims for lost wages due to claims of unlawful termination, demotion, and similar
adverse employment actions.
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wish to receive money through the settlement they must timely submit the Claim Form and thus

waive federal, state and local wage/hour claims; (2) if they do nothing, they will receive no money

and will also waive their claims under state and local wage and hour laws; (3) if they wish not to

participate in the settlement and also retain their rights under state and local wage and hour laws,

they can opt-out of the settlement; and (4) they may object to the settlement.

       4.      Claimants’ Settlement Shares will be a pro rata share of the Net Qualified

Settlement Fund. Each Claimant’s pro rata share will be calculated based on the number of weeks

he or she worked as a Route Salesperson or Senior Route Salesperson during the Class Period.

(Settlement Agreement, § XV)

       5.      Fifty percent (50%) of the total payment to each Class Member shall be deemed

wages and allocated to wage claims and the other fifty percent (50%) shall be deemed liquidated

damages, interest and other statutory penalties and allocated to all non-wage claims. (Settlement

Agreement, § XV(5)(c)).

       6.      The parties will engage a third-party settlement class administrator to administer

the notice, allocation, and distribution of the Net Qualified Settlement Fund, whose fees will be

paid from the Qualified Settlement Fund. (Settlement Agreement, § II(6)). All costs associated

with the settlement, including but not limited to the employer’s portion of FICA/FUTA tax

withholdings, will be paid from the $2,000,000 settlement fund.



                                     LEGAL ARGUMENT

  I.   Preliminary approval is appropriate.

       The law favors compromise and settlement of collective and class action suits. Ehrheart v.

Verizon Wireless, 609 F.3d 590, 594-95 (3d Cir. 2010); In re Warfarin Sodium Antitrust Litig.,

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391 F.3d 516, 535 (3d Cir. 2004) (“there is an overriding public interest in settling class action

litigation, and it should therefore be encouraged.”); Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396

F.3d 96, 116 (2d Cir. 2005) (noting the “strong judicial policy in favor of settlements, particularly

in the class action context”) (internal quotations omitted); Officers for Justice v. Civil Serv.

Comm’n, 688 F.2d 615, 625 (9th Cir. 1982) (“[V]oluntary conciliation and settlement are the

preferred means of dispute resolution. This is especially true in complex class action litigation.”);

Speed Shore Corp. v. Denda, 605 F.2d 469, 473 (9th Cir. 1979) (“It is well recognized that

settlement agreements are judicially favored as a matter of sound public policy. Settlement

agreements conserve judicial time and limit expensive litigation.”); see also NEWBERG ON C LASS

ACTIONS § 11.41 (4th ed. 2002) (“The compromise of complex litigation is encouraged by the

courts and favored by public policy.”).


       The approval of a proposed class action settlement is a matter of discretion for the trial

court. Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975); Churchill Village, LLC v. Gen. Elec. Co.,

361 F.3d 566, 575 (9th Cir. 2004); Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072,

1079 (2d Cir. 1998). In exercising this discretion, courts should give “proper deference to the

private consensual decision of the parties.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th

Cir. 1988).


       Preliminary approval, which is what Plaintiffs seek here, requires only an “initial

evaluation” of the fairness of the proposed settlement on the basis of written submissions and an

informal presentation by the settling parties. NEWBERG § 11.25. To grant preliminary approval,

the court need only find that there is “‘probable cause’ to submit the [settlement] to class members

and hold a full-scale hearing as to its fairness.” In re Traffic Executive Ass’n, 627 F.2d 631, 634

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(2d Cir. 1980); NEWBERG § 11.25 (“If the preliminary evaluation of the proposed settlement does

not disclose grounds to doubt its fairness . . . and appears to fall within the range of possible

approval,” the court should permit notice of the settlement to be sent to class members).


        The court makes an initial determination as to whether there is a presumption of fairness

to the settlement. Warfarin, 391 F.3d at 535. The Third Circuit has directed district courts “to apply

an initial presumption of fairness when reviewing a proposed settlement where: ‘(1) the settlement

negotiations occurred at arm’s length; (2) there was sufficient discovery; (3) the proponents of the

settlement are experienced in similar litigation; and (4) only a small fraction of the class objected.’”

Id. citing Cendant Corp. Litigation, 264 F.3d 201, at 232 n. 18 (3d Cir. 2001).


        Preliminary approval is the first step in the settlement process. It allows notice to issue to

the class and for class members to submit a Claim Form, object to the settlement, or exclude

themselves from the settlement. After the notice period, the court will be able to evaluate the

settlement with the benefit of the class members’ input.


        The above standards are easily met here. First, the proposed settlement was reached during

arm’s length negotiations before the Hon. Diane M. Welsh (Ret.), a former federal Magistrate

Judge who has substantial experience in resolving wage and hour matters.


        Second, there has been substantial discovery regarding the dispute. The Parties have

exchanged information regarding Herr’s policies and procedures, training data regarding recorded

arrival and departure time of drivers at/to specific locations, data on alleged unlawful deductions,

information regarding driver compensation, projections regarding purported hours worked, and

position statements regarding the compensability (or lack thereof) of the travel and wait time


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asserted as well as the lawfulness of the deductions at issue. Additionally, dispositive motion

practice occurred, permitting further understanding of the strengths and weaknesses of each side’s

positions.


       Third, counsel for the Parties are experienced in employment law and wage and hour

litigation. Plaintiffs’ counsel has extensive experience in wage and hour cases. At the present

moment, Plaintiffs’ counsel are trial counsel in nine pending federal collectively certified

nationwide FLSA matters. Moreover, Plaintiffs’ counsel has been trial counsel in more than 60

wage and hour collective and class actions, which are either pending or have resolved prior to

certification. Defendant is represented by Morgan, Lewis & Bockius LLP, one of the most

respected law firms in the nation, and their counsel likewise have substantial experience in wage

and hour and employment litigation. Thus, counsel for the Parties have sufficient experience

necessary to fairly evaluate the strengths and weaknesses of this case and to recommend a

settlement to the class.


       Finally, while this Court will not be able to fully evaluate the extent of any objections until

after the settlement has been preliminarily approved and following formal legal notice being sent

to class members (see Settlement Agreement, Exhibit A), all of the named Plaintiffs have agreed

to the settlement.


 II.   The Rule 23 Settlement Class Should Be Certified for Purposes of Settlement.

       A settlement class will be certified if it meets the requirements of Rule 23(a) and one of

the subsections of Rule 23(b). See, e.g., Wal-Mart Stores v. Dukes, 131 S. Ct. 2541, 2548 (2011);

In re Prudential Ins. Co. of Am. Sales Practice Litig. Agent Actions, 148 F.3d 283, 309 (3d Cir.

1998); In re Imprelis Herbicide Mktg., Sales Practices & Prods. Liab. Litig., 2013 U.S. Dist.

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LEXIS 149323, at *9-10 (E.D. Pa. 2013); Ripley v. Sunoco, Inc., 287 F.R.D. 300, 306 (E.D. Pa.

2012). Rule 23(e) requires Court approval for a class action settlement to ensure that it is

procedurally and substantively fair, reasonable and adequate. Fed. R. Civ. P. 23. Notably, a class

may be approved for settlement purposes under less stringent requirements as would be required

if a trial was necessary. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997); Sullivan v. DB

Invs., Inc., 667 F.3d 273 (3d Cir. 2011). Here, the parties’ Rule 23 settlement class should be

certified for purposes of settlement.


       By reaching a favorable settlement prior to dispositive motions or trial, the parties seek to

avoid significant expense and delay, and instead ensure recovery for the class. Ehrheart, 609 F.3d

at 594-595 (3d Cir. 2010) (“[T]he parties may also gain significantly from avoiding the costs and

risks of a lengthy and complex trial.”); In re Austrian & German Bank Holocaust Litig., 80 F.

Supp. 2d 164, 174 (S.D.N.Y. 2000), aff’d sub. nom. D’Amato v. Deutsche Bank, 236 F.3d 78 (2d

Cir. 2001) (“Most class actions are inherently complex and settlement avoids the costs, delays and

multitude of other problems associated with them.”).


               A. The Proposed Settlement Class Meets the Numerosity Requirement of
                  Rule 23(a)(1).

       Rule 23(a)(1) requires the class to be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). Courts in the Third Circuit typically hold that a putative

class of about 40 is sufficient to meet this requirement. E.g., Ripley, 287 F.R.D. at 307. Since

Herr’s has identified over 1,000 putative class members, Plaintiffs assert that the numerosity

requirement is satisfied.




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               B. The Proposed Settlement Class Meets the Commonality Requirement of
                  Rule 23(a)(2).

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Fed.

R. Civ. P. 23(a)(2). Here, Plaintiffs assert that they can establish “commonality”, because, “while

each Plaintiff’s recovery might be different due to the number of hours that he or she worked

without proper compensation, the wrong was from Defendant’s alleged common [] policies that

precluded proper compensation for overtime work.” Ripley, 287 F.R.D. at 308 (relying on Dukes,

131 S. Ct. at 2551).


               C. The Proposed Settlement Class Meets the Typicality Requirement of Rule
                  23(a)(3).

       Rule 23(a)(3) requires that “the claims and defenses of the representative parties” be

“typical of the claims or defenses of the class.” Fed. R. Civ. P. 23 (a)(3). The “typicality”

requirement is “designed to align the interests of the class and the class representatives so that the

latter will work to benefit the entire class through the pursuit of their own goals.” Prudential, 148

F.3d at 311. The cause of the injury claimed on behalf of the class must be a result of some alleged

“common wrong.” Id. at 312. Here, the Plaintiffs’ claims are all based on Herr’s’ alleged

misclassification of them as exempt employees, which resulted in Herr’s failing to pay them

overtime wages, and Herr’s alleged unlawful deductions from their wages. Plaintiffs thus assert

that their claims are typical of the class they represent. See, e.g., Williams v. Aramark Sports, LLC,

2011 U.S. Dist. LEXIS 102173, *10 (E.D. Pa. 2011) (finding typicality where named plaintiff

“was paid under the same payroll policies as the rest of the Class Members, and those payroll

policies form the basis of the Complaints in these cases”).




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               D. The Proposed Settlement Class Meets the Adequacy Requirement of Rule
                  23(a)(4).

       Rule 23(a)(4) requires “the representative parties” to “fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). The adequacy requirement “encompasses two

distinct inquiries [1] whether the named plaintiffs’ interests are sufficiently aligned with the

absentees, and [2] [whether] it tests the qualifications of counsel to represent the class.” In re

Cmty. Bank of N. Va., 418 F.3d 277, 303 (3rd Cir. 2005) (internal quotation marks omitted).

Accord, e.g., Beck v. Maximus, Inc., 457 F.3d 291, 296 (3d Cir. Pa. 2006); Johnston v. HBO Film

Mgmt., 265 F.3d 178, 185 (3d Cir. 2001); Ripley, 287 F.R.D. at 309. Here, the harm allegedly

suffered by the Named Plaintiffs – Herr’s’ alleged misclassification of RSPs as exempt employees,

which resulted in Herr’s failing to pay them overtime wages, and Herr’s’ alleged unlawful

deductions from their wages – is aligned with the harm allegedly suffered by the putative class

members; and (2) Named Plaintiffs’ counsel is highly qualified employment law counsel

experienced in FLSA and wage and hour litigation. (Swidler Declaration).


               E. The Proposed Settlement Class Meets the Predominance and Superiority
                  Requirements of Rule 23(b)(3).

       Once the requirements of Rule 23(a) are satisfied, a class may be certified under Rule

23(b)(3) if “the court finds that the questions of law or fact common to class members predominate

over any questions affecting only individual members” (the “predominance” requirement), and

“that a class action is superior to other available methods for fairly and efficiently adjudicating the

controversy” (the “superiority” requirement). Fed. R. Civ. P. 23(b)(3) (emphasis added). “The

matters pertinent to these findings include:


       (A) the class members’ interests in individually controlling the prosecution or
       defense of separate actions;
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       (B) the extent and nature of any litigation concerning the controversy already begun
       by or against class members;

       (C) the desirability or undesirability of concentrating the litigation of the claims in
       the particular forum; and

       (D) the likely difficulties in managing a class action.” Id.

       “[T]he focus of the predominance inquiry is on whether the defendant’s conduct was

common as to all of the class members, and whether all of the class members were harmed by the

defendant’s conduct.” Sullivan v. DB Invs., Inc., 667 F.3d 273, 297 (3d Cir. 2011) (en banc).

Accord, e.g., In re Imprelis Herbicide Mktg., Sales Practices & Prods. Liab. Litig., 2013 U.S. Dist.

LEXIS 149323, at *18 (E.D. Pa. Oct. 17, 2013). Here, the claims that Herr’s misclassified named

Plaintiffs as exempt employees, failed to pay them overtime wages, and unlawfully deducted from

their wages are common issues that Plaintiffs assert predominate over any hypothetical individual

issues. See e.g., Ripley, 287 F.R.D. at 309; Dugan v. Towers, Perrin, Forster & Crosby, Inc., 2013

U.S. Dist. LEXIS 136305, *11 (E.D. Pa. 2013).


       “The superiority requirement asks the court to balance, in terms of fairness and efficiency,

the merits of a class action against those of alternative available methods of adjudication.”

Prudential, 148 F.3d at 316 (internal quotation marks omitted). Accord, e.g., Imprelis, 2013 U.S.

Dist. LEXIS 149323, at *19; Ripley, 287 F.R.D. at 310. Here, Plaintiffs assert that class-wide

resolution of this matter is superior to individual claims, because the amount of the claims of most

class members is comparatively small, whereas the size of the class is quite large. Furthermore,

the manageability of a class action – a component of the superiority inquiry – is a less important

consideration when certification is sought of a settlement class. See, e.g., Dugan, 2013 U.S. Dist.

LEXIS 136305, at *11.


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III.    The FLSA Class Should Be Given Final Certification for Settlement Purposes.

       This Court has found that satisfying the more stringent requirements of Rule 23 qualifies

the class to be certified as a collective action. Hall v. Best Buy Co., 274 F.R.D. 154, 167 n.68

(E.D. Pa. 2011). Courts in the Third Circuit apply the so-called “Lusardi factors” to certification

of an FLSA opt-in class. These factors are: “(1) the disparate factual and employment settings of

the individual plaintiffs; (2) the various defenses available to [defendants] which appear to be

individual to each plaintiff; [and] (3) fairness and procedural considerations.” Bredbenner v.

Liberty Travel, Inc., 2011 U.S. Dist. LEXIS 38663, at *48 (D.N.J. 2011) (quoting Lusardi v. Xerox

Corp., 118 F.R.D. 351, 359 (D.N.J. 1987), vacated in part sub nom. Lusardi v. Lechner, 855 F.2d

1062 (3d Cir. 1988). Accord Williams, 2011 U.S. Dist. LEXIS 102173, at *28. “Because the

analysis required for final certification largely overlaps with class certification analysis under

Federal Rule of Civil Procedure 23(a), the Court need only address the Lusardi factors in passing”;

“there is little difference between the two approaches.” Bredbenner, 2011 U.S. Dist. LEXIS

38663, at *49 (internal quotation marks & brackets omitted).


       As discussed above, Plaintiffs assert that they have satisfied the Rule 23 requirements for

class certification. Thus, for the same reasons, Plaintiffs assert that they have also met the

requirements of final certification for a collective action pursuant to the FLSA. Procedural and

fairness considerations will also meet due process requirements; all potential class members will

receive a notice informing them that they are members of the class and will be able to opt-in to the

litigation by simply signing and returning the Claim Form.




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IV.    The Court Should Preliminarily Approve the Proposed Settlement Under Rule 23.

       In deciding a motion for preliminary approval of a Rule 23 class action settlement, a court

considers whether: (1) the settlement negotiations occurred at arm’s length; (2) there was sufficient

discovery; (3) the proponents of the settlement are experienced in similar litigation; and (4) only a

small fraction of the class objected. E.g., In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig.,

55 F.3d 768, 785 (3d Cir. 1995); In re Imprelis Herbicide Mktg., Sales Practices, & Prods. Liab.

Litig., 2013 U.S. Dist. LEXIS 18332, at *7 (E.D. Pa. 2013); Curiale v. Lenox Grp., 2008 U.S. Dist.

LEXIS 92851, at *26 (E.D. Pa. 2008). 4 The presence of these factors “establishes an initial

presumption of fairness.” GMC, 55 F.3d at 785. Accord, e.g., Imprelis, 2013 U.S. Dist. LEXIS,

18332, at *8. All of these factors are present here.


       First, there is no question that the settlement negotiations here occurred at arm’s length.

Indeed, after two years of highly contested litigation the Parties attended a formal mediation on

November 30, 2015 before the Hon. Diane M. Welsh (Ret.), an impartial former Magistrate Judge

with impeccable credentials, who has presided over thousands of settlements and is highly

regarded as a mediator. (Swidler Declaration) See http://www.jamsadr.com/welsh/.


       Second, there has been an extensive exchange of information between the Parties during

discovery and in anticipation of mediation. (Swidler Declaration). For example, Herr’s produced

pay records for all six named Plaintiffs and all opt-in Plaintiffs, the personnel files and time and




4
 The Third Circuit has adopted a more rigorous nine-factor test for final approval of class action
settlements. GMC, 55 F.3d at 785 (citing Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975)).
However, “the standard for preliminary approval is far less demanding.” Curiale, 2008 U.S. Dist.
LEXIS 92851, at *27, n.4 (internal quotation marks omitted).
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sales records for four named Plaintiffs and ten opt-in Plaintiffs, pay and work policies, and

orientation and training materials.


       Third, counsel for Plaintiffs have considerable experience and success in prosecuting,

defending, and settling wage and hour claims, including Rule 23 class actions and FLSA collective

actions. (Swidler Declaration); see also McGee v. Anne’s Choice, Inc., 2014 U.S. Dist. LEXIS

75840 (E.D. Pa. 2014) (Schiller, J) (finding Mr. Swidler to be “well-versed in FLSA cases and

skilled in litigating and settling wage-and-hour litigation”); Keller v. TD Bank, 2014 U.S. Dist.

LEXIS 155889, 18-19 (E.D. Pa. 2014) (Restrepo, J.) (finding that Mr. Swidler and Mr. Swartz

“have considerable experience handling class and collective action disputes” and “have

represented the Named Plaintiffs and the prospective class competently and diligently throughout

the course of this litigation”); Stoneback v. ArtsQuest, 2013 U.S. Dist. LEXIS 86457 (E.D. Pa.

2013) (Gardner, J.) (finding that Mr. Swidler has “handled numerous class action lawsuits” and

“is qualified to represent the class as class counsel”); Campbell v. C.R. Eng., Inc., 2015 U.S. Dist.

LEXIS 134235, *18 (D. Utah 2015) (finding that Swartz Swidler LLC, Mr. Swidler and Mr.

Swartz “ha[ve] significant experience in litigating wage and hour cases”); Baouch v. Werner

Enters., 2014 U.S. Dist. LEXIS 64981, *9 (D. Neb. 2014) (finding that Swartz Swidler, LLC,

Justin Swidler, and Richard Swartz have “experience in class actions [and] knowledge of the law”

in an FLSA and state law minimum wage case).


       The recommendation of settlement by such experienced counsel is entitled to significant

weight. See, e.g., Austin v. Pa. Dep’t of Corr., 876 F. Supp. 1437, 1472 (E.D. Pa. 1995) (“in

determining the fairness of a proposed settlement, the court should attribute significant weight to

the belief of experienced counsel that settlement is in the best interest of the class”); Bullock v.

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Administrator of Estate of Kircher, 84 F.R.D. 1, 4 (D.N.J. 1979) citing Jamison v. Butcher &

Sherrerd, 68 F.R.D. 479, 481-82 (E.D. Pa. 1975) (Counsel is “intimately associated with the

litigation and consequently far more able to weigh its relative strengths and weaknesses”).


       Fourth, there have thus far been no objections to the proposed settlement, though, candidly,

that is presumably because notice has not yet been sent to putative class members; that awaits the

Court’s certification of a settlement class, as discussed above, and approval of the form of notice,

as discussed below. It is important to note that each named Plaintiff has expressed his acceptance

of the settlement.


       Finally, counsel for the Parties have determined that this case presents significant risks for

all sides. In light of the uncertainties and costs associated with protracted litigation, Herr’s has

agreed to settle this claim for a fair and appropriate amount - $2,000,000. The settlement amount

represents a fair value of the attendant risks of litigation, even though recovery could be greater if

this case were won at trial and survived through appeal. Herr’s and its counsel believe this

settlement amount is reasonable, especially in light of the numerous defenses asserted. If Herr’s

prevailed in its substantive and procedural defenses (e.g., the exempt status of RSPs, lawfulness

of deductions, lack of similarity among class members, etc.), Plaintiffs and the putative class would

not recover anything. Nevertheless, it is well-settled that a settlement of a class action may be

appropriate even where the settlement is only a fraction of the ultimate total exposure should the

case be decided at trial. See Lenahan v. Sears, Roebuck & Co., 2006 U.S. Dist. LEXIS 60307, at

*48 (D.N.J. 2006) (approving $15 million settlement when maximum exposure at trial may have

been as high as $104 million because of the uncertainty of the final disposition of a trial).




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       Plaintiffs’ asserted damages in this case resulted from Plaintiffs’ claims that Herr’s failed

to pay Plaintiffs overtime wages and unlawfully deducted for the cost of lost inventory from

Plaintiffs’ wages. As to Plaintiffs’ overtime claims, the Parties dispute how many hours each RSP

worked per workweek and the method of calculating owed overtime wage damages. Plaintiffs

argue that RSPs worked an average of 55 hours per workweek, while Herr’s contends that they

worked far fewer hours per workweek. Moreover, Plaintiffs argue that they would be entitled to

a 150% premium for hours worked in excess of 40 hours in a workweek, while Herr’s contends

that Plaintiffs would be entitled to only a 50% premium. Should Herr’s prevail on these issues,

the amount owed to each class member would be dramatically reduced.


 V.    The Court Should Approve the Proposed Settlement Under the FLSA.

       The decision to approve the settlement of an FLSA collective action lies within the trial

court’s discretion. Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982).

In exercising that discretion, the court should be mindful of the strong presumption in favor of

settlement. E.g., Farris v. J.C. Penney Co., 176 F.3d 706, 711 (3d Cir. 1999); Morales v. PepsiCo,

Inc., 2012 U.S. Dist. LEXIS 35284, at *3 (D.N.J. 2012).


       A. The Proposed Settlement is a Fair and Reasonable Resolution of a Bona Fide
          Dispute.

       “To approve a settlement resolving claims under the FLSA, the Court must scrutinize its

terms for fairness and determine that it resolves a bona fide dispute.” Bredbenner, 2011 U.S. Dist.

LEXIS 38663, at *50 (citing Lynn’s, 679 F.2d at 1354). Typically, courts regard the adversarial

nature of a litigated FLSA case to be an adequate guarantor of fairness. Lynn’s, 679 F.2d at 1353-

54; Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *51. If the proposed settlement reflects a


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“reasonable compromise of disputed issues,” the court should approve the settlement. Lynn’s, 679

F.2d at 1354. Accord Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *52.


               1. The Parties Have a Bona Fide Dispute.

       The Parties’ agreement settles several disputed legal and factual issues. Named Plaintiffs

filed the action claiming that Herr’s misclassified RSPs as exempt from overtime wages under the

FLSA and state laws, failed to pay one and one-half times the regular rate for all hours that RSPs

worked in excess of 40 hours per workweek, and that Herr’s unlawfully deducted from RSPs’

wages. At all times, Herr’s disputed its liability on these claims, asserted a number of substantive

and procedural defenses to liability and, even assuming its liability, maintained that damagers were

far less than the amounts asserted by named Plaintiffs. Herr’s’ defenses include that:


      Plaintiffs and putative class members were exempt from the overtime provisions of the
       FLSA and state wage and hour laws under the “outside sales” exemption;

      Plaintiffs and putative class members were exempt from the overtime provisions of the
       FLSA and state wage and hour laws under the “motor carrier” exemption;

      Plaintiffs and putative class members were exempt from the overtime provisions of the
       FLSA and state wage and hour laws under the “administrative” exemption;

      Plaintiffs and putative class members were exempt from the overtime provisions of the
       FLSA and/or state wage and hour laws under the “highly compensated” exemption;

      Plaintiffs and putative class members were exempt from the overtime provisions of the
       FLSA and state wage and hour laws under a combination exemption;

      Proving that Plaintiffs were nonexempt under any given exemption would necessitate
       individual testimony from each and every RSP, which is inconsistent with final
       certification of the FLSA class and Rule 23 certification of state law classes;




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      Proving Plaintiffs worked over 40 hours in any given workweek would necessitate
       individual testimony from each and every RSP, which is inconsistent with final
       certification of an FLSA class and Rule 23 certification of state law classes;

      The deductions from Plaintiffs’ wages were lawful under state laws;

      Plaintiffs and the putative class failed to satisfy the requirements of 29 U.S.C. § 216(b) and
       Fed. R. Civ. P. 23 for certification (final, or otherwise);

      Herr’s is not liable for liquidated damages under the “good faith’ defense; and

      Plaintiffs’ claims were barred, at least in part, by the various applicable statutes of
       limitations.


       Thus, there are bona fide disputes between the Parties that were resolved through the arm’s

length mediated settlement. Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *50-52.


               2. The Proposed Settlement is Fair and Reasonable.

       The terms of the proposed settlement are fair. As noted above, courts look to the

adversarial nature of a case as an indicator of the fairness of the settlement. Lynn’s, 679 F.2d at

1353-54; Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *50-51; Clark v. Ecolab, 2010 U.S. Dist.

LEXIS 47036, at *24 (S.D.N.Y. 2010). The Parties’ settlement negotiations also demonstrate

fairness. Former Magistrate Judge Welsh, an experienced, independent mediator, oversaw the

negotiations at the November 30, 2015 mediation, which “virtually insures that the negotiations

were conducted at arm’s length and without collusion between the parties.” Bredbenner, 2011

U.S. Dist. LEXIS 38663, at *30. Accord, e.g., Castagna v. Madison Square Garden, L.P., 2011

U.S. Dist. LEXIS 64218, at *14 (SDNY 2011).


       The settlement here carries other indicia of fairness. Throughout the process, Plaintiffs

were represented by competent counsel experienced in wage-and-hour class litigation. (Swidler
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Declaration). Furthermore, the settlement was consummated after extensive litigation, which

included the production of time, payroll, and sales data and a full and fair exchange of information

between the parties through both formal discovery and in anticipation of mediation, so that the

parties were fully informed of the legal issues and evidence. The settlement further occurred after

the Court’s decision denying summary judgment to Defendant. Under the proposed settlement,

Plaintiffs receive payment of estimated alleged unpaid wages, including, but not limited to,

damages related to purported unlawful deductions, unpaid overtime plus a component for

liquidated damages, as well as attorneys’ fees, costs, and service payments to class representatives.

Significantly, named Plaintiffs, opt-in Plaintiffs, those putative class members who submit claim

forms will receive that money promptly, avoiding the risks and delay inherent in continued

litigation. These factors clearly establish fairness. Bredbenner, 2011 U.S. Dist. LEXIS 38663, at

*29-30 & 50-52.


               B. The Settlement is Consistent with Public Policy.

       Like other jurisdictions, the Third Circuit recognizes a strong public policy in favor of

settlements, since “they promote the amicable resolution of disputes and lighten the increasing

load of litigation faced by courts.” D.R. by MR. v. East Brunswick Bd. of Educ., 109 F.3d 896,

901 (3d Cir. 1997). The settlement here is consistent with that policy because it resolves a pending

case on behalf of a potential class of more than 1,000 members and avoids a jury trial and likely

appeals. Because the settlement represents a fair settlement of a bona fide dispute, public policy

heavily weighs in favor of approval. Id. See also Farris, 176 F.3d at 711.




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VI.    The Service Awards Are Reasonable and Appropriate.

       Service awards are the norm in wage-and-hour class litigation. Bredbenner, 2011 U.S.

Dist. LEXIS 38663, at *64. Their purpose is to compensate representative plaintiffs “for the

services they provided and the risks they incurred during the course of the litigation.” Cullen v.

Whitman Med. Corp., 197 F.R.D. 136, 145 (E.D. Pa. 2000). The named Plaintiffs here took risks

as both Rule 23 and FLSA class representatives. Their services began with their filing of a hybrid

collective/class action that provides a large group of Herr’s employees with the opportunity to

recover a portion of their allegedly unpaid compensation. Throughout the litigation, the named

Plaintiffs provided information and documents to assist counsel’s investigation and litigation of

their claims. Opt-in Plaintiffs Christopher Spross and Jaqueline Jones also spent a considerable

amount of time assisting the Class during the litigation of this matter. Herr’s deposed them both

and filed the Motion for Summary Judgment on opt-in Plaintiff Jones’ FLSA claims. Opt-in

Plaintiff Jones greatly assisted the Class by helping counsel defeat Herr’s motion for partial

summary judgment. The Class Representative Payments are well within the accepted range in this

District: Named Plaintiff Drummond will receive $7,500, Named Plaintiffs Bah, Bent, and

Grandison with each receive $5,000, Named Plaintiffs Ciampaglia and Godley will each receive

$1,500, and Opt-in Plaintiffs Jaqueline Jones will receive $5,000, and Opt-in Plaintiff Christopher

Spross will receive $500. Numerous courts in this District have awarded service awards equal to

or higher than those proposed here. See e.g., In re Ins. Brokerage Antitrust Litig., 579 F.3d 241,

282, 284 (3d Cir. 2009) ($10,000 service award); In re Janney, 2009 U.S. Dist. LEXIS 60790, at

*37 (E.D. Pa. 2009) ($20,000 service payment in FLSA and Pennsylvania wage and hour case);

Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *68 ($10,000).



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VII.   The Court should preliminarily approve the Class Counsel’s fees and costs request.

       The final decision regarding the reasonableness of class counsel’s fees and costs should be

made during the Final Approval Hearing, following notice to class members and the objection

period. The reasonableness of such fees and costs are better evaluated after such period, as this

Court will be made aware of any objections by then and as class counsel will spend a substantial

amount of additional time and effort working on this matter from the date of the instant motion

through the date of the Final Approval Hearing.


       However, it is worth noting that the attorney’s fees and costs in this matter are requested

as a percentage of the settlement, which is the favored method for calculating attorney’s fees in

such cases. See Boeing Co. v. Van Gemert, 444 U.S. 472, 478-79 (1980); In re AT&T Corp., 455

F.3d 160, 164 (3d Cir. 2006); In re Prudential Ins. Co. America Sales Practice Litig. Agent, 148

F.3d 283, 333 (3d Cir. 1998); Court Awarded Attorney Fees, Report of Third Circuit Task Force,

108 F.R.D. 237 (1985); Bredbenner, 2011 U.S. Dist. LEXIS 38663 at *52-53 (D. NJ. 2011)

(common fund distribution for attorney’s fees in hybrid FLSA/Rule 23 wage and hour case). The

percentage-of-recovery method “is the prevailing methodology used by courts in this Circuit for

wage-and-hour cases.” Id. at *53, citing, Chemi v. Champion Mortg., 2009 U.S. Dist. LEXIS

44860 (D.N.J. 2009); In re Janney, 2009 U.S. Dist. LEXIS 60790; Lenahan v. Sears, Roebuck &

Co., 2006 U.S. Dist. LEXIS 60307 (D. NJ. 2006).


       Even in cases where statutory attorney’s fees attach, such as in FLSA cases, the percentage-

of-recovery doctrine is still the preferred manner to calculate attorney’s fees. The lodestar method,

whereby the attorney’s time is multiplied by the reasonable hourly rate, remains disfavored,

because “regardless [of] how a total settlement structure is formally structured . . . every dollar

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given to class counsel means one less dollar for the class.” In re Cendant Corp. Litig., 264 F.3d

201, 256 (3d Cir. 2001); see also In re GMC Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d

at 821-822 (rejecting lodestar fee and directing that percentage-of-recovery should have been

utilized even though the agreement for fees was ostensibly distinct from the agreement to pay class

members because of “economic reality” of such arrangement).


       In common fund cases, fee awards generally range anywhere from nineteen percent (19%)

to forty-five percent (45%) of the settlement fund. See In re Gen. Motors, 55 F.3d at 822, citing In

re SmithKline Beckman Corp. Sec. Litig., 751 F. Supp. 525, 533 (E.D. Pa. 1990). Here, class

counsel has requested a fee of thirty-three and one-third percent (33 1/3%) of the settlement fund,

totaling $666,666.66. This percentage is in line with what is routinely provided in such cases. See,

e.g. Bredbenner, 2011 U.S. Dist. LEXIS 38663 at *60-61 (awarding 32.6% of $3 million, or

$978,000, plus costs, in wage and hour case where counsel spent 1,800 hours litigating claim, and

citing to cases providing same); In re Safety Components, Inc. Sec. Litig., 166 F Supp. 2d 72, 102

(D.N.J. 2001) (granting award of 33 1/3 % in common fund case and citing to ten cases from this

Circuit holding the same). It is important to note that the notice sent to the Class after this Court

conditionally certified the collective action stated that Plaintiffs’ counsel would apple to receive

1/3 of any settlement obtained.


       Class Counsel has requested a fee award of 33 1/3% of the Settlement Fund. Hence, while

counsel will further substantiate this request prior to the Final Settlement Hearing (after any

objections will be known), an initial determination that the fee request is fair is appropriate.




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VIII.   The Court Should Approve the Proposed Form of Notice and the Parties’ Notice
        Plan.

        To satisfy due process, notice to class members must be “reasonably calculated under all

 the circumstances, to apprise interested parties of the pendency of the action and afford them an

 opportunity to present their objections.” LaChance v. Harrington, 965 F. Supp. 630, 636 (E.D.

 Pa. 1996) (quoting Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)). The

 form of notice must be sufficient to accomplish this purpose in accordance with the dictates of

 Fed. R. Civ. P. 23(c)(2) and 23(e). Furthermore, “[a]lthough the notice need not be unduly specific

 . . . the notice document must describe, in detail, the nature of the proposed settlement, the

 circumstances justifying it, and the consequences of accepting and opting out of it.” In re Diet

 Drugs Prod. Liab. Litig., 369 F.3d 293, 308-10 (3d Cir. 2004) (internal quotations omitted); accord

 Weigner v. City of N.Y., 852 F.2d 646, 649 (2d Cir. 1988).


        Here, the form and method of the notice of the Parties’ proposed settlement satisfies all

 due process considerations and meets the requirements of the Federal Rules of Civil Procedure.

 In particular, the Class Notice (see Settlement Agreement, Exhibit A), provides detailed

 information about the settlement terms (including the formula used to calculate Claimants’

 Settlement Share). It also sets forth class counsel’s intent to request attorneys’ fees, reimbursement

 of expenses, and Class Representative Payments for the named Plaintiffs and opt-in Plaintiffs

 Spross and Jones and detailed information about the claims being released. In addition, the Class

 Notice provides information about the date for the Fairness Hearing, class members’ rights to

 object (and deadlines and procedures for objecting) or exclude themselves, and the procedure to

 receive additional information. Further, the Class Notice provides potential class members with

 contact information for the claims administrator and class counsel. Likewise, the Claim Form

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meets all of the due process standards; it is written in plain English, is user friendly and describes

exactly what each class member must do to receive a settlement payment. In re Automotive

Refinishing Paint Anti-Trust Litigation, 617 F. Supp. 336, 345-46 (E.D. Pa. 2007).


       Finally, the proposed notice procedure, including individualized mailing, procedural

safeguards such as skip tracing for returned notices, and a reminder notice (Settlement Agreement,

§ VIII) has been recognized as the best notice that practicably can be given to absent class

members. See, e.g., Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175 (1974); Lawson v. AT&T

Mobility, LLC 687 F.3d 109, 123-24 (3d Cir. 2012); In re Diet Drugs, 369 F.3d at 308-310; Grunin

v. International House of Pancakes, 513 F.2d 114, 121-22 (8th Cir. 1975). The ninety (90) day

return deadline, with extra time built in for a second mailing likewise is generally acceptable. See,

e.g., Aboud v. City of Wildwood, 2013 U.S. Dist. LEXIS 70083, at *23 (D.N.J. 2013) (“The court

finds that a 45-day opt-in period is appropriate here”); Arpi v. Sternbach Holdings, LLC, 2012

U.S. Dist. LEXIS 183648, at *4 (S.D.N.Y. Dec. 10, 2012) (45 days). Accordingly, the form of

Notice and proposed notice and claim process satisfy both due process and the requirements of

Rule 23 and should be approved.



                                          CONCLUSION

       Plaintiffs respectfully request that this Court grant their Motion: (1) to certify a settlement

class under Federal Rule of Civil Procedure 23(b)(3) for settlement purposes only; (2) to certify

an FLSA collective action opt-in settlement class under 29 U.S.C. §216(b), for settlement purposes

only; (3) for preliminary approval of the settlement as embodied in the attached Settlement

Agreement with respect to the Rule 23 class claims; (4) for preliminary approval of the settlement

as embodied in the attached Settlement Agreement with respect to FLSA collective action claims;
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and (5) to approve the proposed form of notice and the Parties’ notice plan.


                                                     Respectfully submitted,


                                                     /s/ Matthew Miller
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